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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


ARY L. ASSUNCAO,                 )
              Plaintiff,         )
                                 )   Civil Action
JANET MAGNANI,                   )   No. 4:15-cv-40106-MGM
              Defendant,         )


                          ORDER OF DISMISSAL

                              May 9, 2017


MASTROIANNI, U.S.D.J.

    Pursuant to the court’s electronic order of this date

dismissing this action, it is hereby ordered that this

case be closed.

   It is so ordered.


                            ROBERT M. FARRELL
                            CLERK OF COURT

                            By /s/`tâÜ|vx ZA_|Çwátç
                            Maurice G. Lindsay
                            Deputy Clerk 
